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                                         Sincerely,

                                         /s/ Michael Xun Liu

                                         Michael Xun Liu




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